Case 1:19-cr-10080-NMG Document 693-3 Filed 12/13/19 Page 1 of 5




             Exhibit C
          Case 1:19-cr-10080-NMG Document 693-3 Filed 12/13/19 Page 2 of 5



                                                           U.S. Department of Justice

                                                           Andrew E. Lelling
                                                           United States Attorney
                                                           District of Massachusetts
Main Reception: (617) 748-3100                             John Joseph Moakley United States Courthouse
                                                           1 Courthouse Way
                                                           Suite 9200
                                                           Boston, Massachusetts 02210



                                                           October 31, 2019

VIA E-MAIL
Counsel of Record

          Re:       United States v. David Sidoo, et al.
                    Case No. 19-cr-10080-NMG

Dear Counsel:

       We write in response to your letters of: (a) September 27, 2019, requesting purported
Brady material; (b) September 27, 2019, concerning other discovery matters; and (c) October 11,
2019, concerning purported technical production issues. We address each letter, in turn, below.

          PURPORTED BRADY REQUESTS

        Your letter of September 27, 2019, styled as a request pursuant to Brady v. Maryland, 373
U.S. 83 (1963), and Local Rule 116.2, requests that the government produce “[a]ll evidence”
regarding: (a) William “Rick” Singer’s representations to clients; (b) the “Colleges’ Knowledge
of and Attitudes Toward the Alleged Conduct;” and (c) various topics including internal
investigations conducted by the victim colleges.

        Brady and its progeny do not create a general right to criminal discovery. See Weatherford
v. Bursey, 429 U.S. 545, 559 (1977) (“There is no general constitutional right to discovery in a
criminal case, and Brady did not create one.”). Rather, Brady obligates the government “to
disclose evidence in its possession that is favorable to the accused and material to guilt or
punishment.” United States v. Prochilo, 629 F.3d 264, 268 (1st Cir. 2011). “The government is
primarily responsible for deciding what evidence it must disclose to the defendant under Brady.”
Id. at 268. The government is familiar with its Brady obligations, has complied with them, and
will continue to do so.

        Your sweeping requests for “all evidence” in a variety of generic categories amount to little
more than fishing expedition. None of your requests articulates – let alone with specificity – what
specific evidence the defendants expect to find, why the defendants believe that evidence would
be found in the requested materials, or why that evidence would be favorable and material to the
defendants. See Prochilo, 629 F.3d at 268 (defendant’s Brady request “cannot consist of mere
       Case 1:19-cr-10080-NMG Document 693-3 Filed 12/13/19 Page 3 of 5



speculation,” and defendant “should be able to articulate with some specificity what evidence he
hopes to find in the requested materials, why he thinks the materials contain this evidence, and
finally, why this evidence would be both favorable to him and material”). To the contrary, your
requests appear, on their face, to seek evidence that is quintessentially not Brady, insofar as it is
immaterial to guilt or punishment, affirmatively inculpatory, and/or within the defendants’
knowledge.

         For example, many of your requests seek information about alleged representations that
Singer made to “Clients,” which you define to include, among others, “actual client[s], potential
clients . . . and persons [Singer] claims to have been clients.” See, e.g., Requests 1-7, 11-12, 14-
15. To the extent that Singer made representations to actual or potential clients who are not
defendants in this case, such representations are, on their face, irrelevant to this case. Likewise,
many of your requests seek information about purported representations concerning “Colleges,”
which you define to include, inter alia, “all colleges, graduate schools, and universities with whom
Rick Singer communicated or claimed to have communicated about student admissions.” See,
e.g., 4, 6, 12, 15. But, of course, the defendants are charged with conspiring to defraud specific
colleges and universities through bribery and fraud. Evidence concerning Singer’s
communications with colleges and universities the defendants did not conspire to defraud – while
conceivably inculpatory to the extent it suggests, for example, that the defendants chose the
targeted colleges because there was an available bribe opportunity – is not favorable to the
defendants, nor is it material to their punishment. Still other requests seek information concerning
“Educational institutions,” which you define to include not just colleges and universities with
whom Singer communicated or claimed to have communicated about student admissions (whether
or not those communications concerned the defendants) but also high schools and public school
districts (regardless of whether the defendants’ children attended those schools or lived in those
school districts). Such requests are wildly overbroad.

       Even to the extent the requests are narrowed to concern the defendants themselves, and the
colleges and universities they conspired to defraud, several requests seek information that is
affirmatively inculpatory, such as evidence that Singer and his employees misrepresented
themselves as the defendants in communications with the College Board and the Educational
Testing Service, discouraged the defendants from speaking to college employees about their
payments, or advised defendants to route money through The Key. See, e.g., Requests 9, 12, 14.
Several requests seek information about events that occurred “without the [defendants’]
knowledge” or that was otherwise unknown to them and/or that occurred after they agreed to
commit the charged offenses. See, e.g., Requests 8-10, 13, & 15-32. Such information is neither
relevant nor material to the defendants’ knowledge or intent at the time they are alleged to have
committed the charged crimes. Likewise, several requests seek information concerning where the
bribe payments were directed or how they would be spent. See, e.g., Requests 1-3, 7, 11-15, 17.
This information is also neither relevant nor material to whether the defendants understood the
payments to be bribes or kickbacks. See, e.g., United States v. DeMizio, 741 F.3d 373, 382 (2d
Cir. 2014) (rejecting “contention that a payment in a private-sector scheme does not qualify as a
kickback unless the defendant employee himself or herself receives the payoff”) (favorably citing
United States v. Hausmann, 345 F.3d 952, 954 (7th Cir. 2003), for proposition that kickbacks could
include payments to charities defendant supported). And several requests seek information
concerning statements allegedly made to the defendants. See, e.g., Requests 1-15 & 29. Such

                                                 2
       Case 1:19-cr-10080-NMG Document 693-3 Filed 12/13/19 Page 4 of 5



evidence, to the extent it exists, would of course be known to the defendants and would therefore
not fall within the scope of Brady. See United States v. Bender, 304 F.3d 161, 164 (1st Cir. 2002)
(“Brady applies to material that was known to the prosecution but unknown to the defense”).

        If, after reviewing the discovery, you continue to have a non-speculative basis to believe
there is specific evidence in the government’s possession that is favorable and material to the
defendants, we would be happy to discuss those specific requests further. See, e.g., United States
v. Rose, 11-10062-NMG, 2012 WL 1744757, at *4 (May 16, 2012) (holding that a “defendant
must make some showing that the [purported Brady] material in question could contain favorable,
material evidence,” and “[t]hat showing cannot be based on speculation.”) (internal quotations
omitted).

       OTHER DISCOVERY MATTERS

       Expert Witnesses: Inasmuch as no trial date has yet been set, we believe it is premature to
discuss a timetable for expert disclosures.

        Protective Order: You indicate that the defendants intend to ignore the designation of
certain documents under the protective order by making “appropriate redactions of the relevant
information.” The government objects to your unilateral decision to circumvent the express terms
of the protective order in the absence of additional information allowing us to assess whether your
practice is sufficient. Please provide a list of documents you consider to be governed by this
approach, and how you propose to handle those documents.

        Table of Contents: The government has complied with the requirements of Local Rule
116.10 by providing multiple indices that identify the origin, type, and location of documents
within the larger production. In addition, as you are aware, all discovery has been produced in a
manageable electronic format on either hard drives or discs, which have been organized into
labeled folders that include load-ready files so the defendants can uses that data in searchable
electronic databases. Each production, moreover, has been accompanied by detailed letters
describing the documents provided in the production, the location of the information on the hard
drive or discs, and the corresponding Bates range for the information. Under such circumstances,
the government need not produce more detailed indexes. See, e.g., United States v. Cadden, No.
14-10363-RGS, 2015 WL 13683814 (D. Mass. July 13, 2015) (denying request for more detailed
indexes where government had produced detailed cover letters and searchable data in a production
of over 8 million pages).

       Heinel Search Warrant: The government produced to the defendants the search warrant
application, affidavit, and order related to the search of a University of Southern California e-mail
account identified as dheinel@usc.edu. See USAO-LP-000468 through USAO-LP-000559. The
government has produced all records and data it seized pursuant to Attachment B of that search
warrant.




                                                 3
       Case 1:19-cr-10080-NMG Document 693-3 Filed 12/13/19 Page 5 of 5



       TECHNICAL ISSUES

        With respect to the technical issues you have identified in the government’s productions,
we believe it makes sense to schedule a call between technical staff from your law firms and our
office. Please provide the contact information for your representative. We note, however, that
many of the issues you raise – e.g., missing metadata fields, missing native Excel files, etc. –
appear to be a product of the way materials were produced to the government by third-parties. The
defendants have the materials in the same format in which the government received them.

        With respect to the financial records that have been produced, the government will re-
produce those documents with Bates numbers. Finally, with respect to the mobile phone text
messages, the government has produced all text messages in its possession between the defendants
and Singer. The reports included in the government’s production identify the participants in each
text exchange, the content of the text, if available, as well as the date and time of each text. We
believe this satisfies the government’s Rule 16 obligations. See, e.g., United States v. Murray, No.
3:18-cr-30018-MGM, 2019 WL 1993785, *7 (D. Mass. May 6, 2019) (denying defense request
for text message metadata from cooperator’s cellphone).

                                         *       *         *

       The government reiterates its request for reciprocal Rule 16 discovery.

                                              Sincerely,

                                              ANDREW E. LELLING
                                              United States Attorney


                                      By:      /s Justin D. O’Connell
                                              Eric S. Rosen
                                              Justin D. O’Connell
                                              Kirsten A. Kearney
                                              Leslie A. Wright
                                              Assistant U.S. Attorneys




                                                 4
